

Matter of Markh v Chen (2025 NY Slip Op 02813)





Matter of Markh v Chen


2025 NY Slip Op 02813


Decided on May 07, 2025


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: May 07, 2025

Before: Kern, J.P., Kennedy, Kapnick, Gesmer, Shulman, JJ. 


Index No. 451333/25|Appeal No. 4472|Case No. 2025-02608|

[*1]In the Matter of Lenny Markh, et al., Appellants, 
vJanice Chen, et al., Respondents.


Abrams, Fensterman, LLP, Brooklyn (Anthony J. Genovesi, Jr. of counsel), for appellants.
Hartzog Law, PLLC, New York (Edward A. Hartzog of counsel), for Janice Chen, respondent.



Judgment, Supreme Court, New York County (Jeffrey H. Pearlman, J.), entered on or about April 29, 2025, unanimously affirmed for the reasons stated by Jeffrey H. Pearlman, J., without costs or disbursements.
No opinion. Order filed.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: May 7, 2025








